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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA


SHARON LEWIS,
                                                            CIVIL ACTION NO: 21-cv-00198
              Plaintiff,
                                                            JUDGE: SUSIE MORGAN
v.
                                                            MAG. JUDGE: RICHARD L.
LOUISIANA STATE UNIVERSITY;                                      BOURGEOIS JR.
BOARD OF SUPERVISORS OF LOUISISANA
STATE UNIVERSITY; et al.,

              Defendants.

           DEFENDANT LES MILES’ MOTION FOR RULE 11 SANCTIONS

       NOW INTO COURT, through undersigned counsel, comes Defendant Leslie Edwin “Les”

Miles, (hereinafter Miles) who respectfully moves this Honorable Court for Rule 11 Sanctions

against Plaintiff, Sharon Lewis (“Plaintiff” or “Lewis”,) and her counsel Tammye C. Brown,

Bridgett Brown, and Larry English (hereinafter “Plaintiff’s Counsel”), for violating Federal Rule

of Civil Procedure 11, all for the reasons set forth in his Memorandum in Support of Motion for

Rule 11 Sanctions being filed contemporaneously herewith.

       Respectfully submitted,

       /s/ J. Christopher Zainey, Jr.             /s/ Peter R. Ginsberg
       J. Christopher Zainey, Jr. (#32022)        Peter R. Ginsberg
       The Lambert Firm, PLC                      Moskowitz and Book, LLP
       701 Magazine St.                           345 Seventh Avenue
       New Orleans, LA 70130                      New York, NY 10001
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       Attorneys for Defendant Leslie Edwin “Les” Miles




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of January, 2022, a copy of the foregoing pleading was

served upon all counsel of record by electronic transmission via the Court’s CM/ECF system.


                                             s/ J. Christopher Zainey, Jr.
                                             J. CHRISTOPHER ZAINEY, JR.




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